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Press Release                                                                      Media Contact
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                          Board of Managers Votes to Hold Tax Election

The Central Health Board of Managers voted at their Wednesday, Aug. 15 regularly scheduled
meeting to include an election for a five-cent property tax increase on the upcoming November
ballot. The election, which will be held on Nov. 6, will present Travis County residents the
opportunity to vote on a proposed five-cent ad valorem tax increase.


According to the proposed ballot language, funding derived from the increase would support
local healthcare expansions and upgrades that will be used for the uninsured and medically
underserved, including support for a new medical school consistent with the mission of Central
Health, a site for a new teaching hospital, trauma services, specialty medicine such as cancer
care, community-wide health clinics, training for physicians, nurses and other healthcare
professionals, primary care, behavioral and mental healthcare, prevention and wellness
programs, and/or to obtain federal matching funds for healthcare services.


A public election is required by law to adopt the proposed rate because it exceeds the
maximum allowable rate, also known as the rollback rate. Central Health's tax rate for the
upcoming 2013 fiscal year, which begins on Oct. 1, is. 7.9 cents per $100 of valuation. The
proposed rate, an additional five cents, would raise the total rate to 12.9 cents per $100 of
valuation.

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